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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                 CRIMINAL 13-0142CCC
 1) JAIME SEPULVEDA-CONCEPCION
 2) MARIO REYES-CRUZ
 3) EDGAR CANCEL-ZAPATA,
 a/k/a “Dr. Zapata”
 4) SONIA GUZMAN-SILVAGNOLI,
 a/k/a “Dr. Guzmán”
 Defendants


                                            ORDER

       Having considered the Report and Recommendation filed on March 17, 2014 (docket
entry 87) on a Rule 11 proceeding of defendant Jaime Sepúlveda-Concepción (1) before
U.S. Magistrate Judge Silvia Carreño-Coll on March 12, 2014, to which no objection has
been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is
accepted. The Court FINDS that his plea was voluntary and intelligently entered with
awareness of his rights and the consequences of pleading guilty and contains all elements
of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since March 12, 2014. The sentencing hearing is set for June 10,
2014 at 4:15 PM.
       The U.S. Probation Officer is reminded that, should any objections be raised by
defendant to the PreSentence Report, the Addendum to said PreSentence Report must
specifically identify any unresolved objections, the grounds for the objections, and the
U.S. Probation Officer’s comments on them, as required by Fed. R. Crim. P. 32(g). The
party that raised the unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved objections
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be ruled upon by the Court. Failure to do so will be deemed by the Court as a withdrawal
of the unresolved objections.
      SO ORDERED.
      At San Juan, Puerto Rico, on April 7, 2014.



                                        S/CARMEN CONSUELO CEREZO
                                        United States District Judge
